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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOEL PATTERSON, e¢ al.,
Appellants,

v. Civil No. 3:21¢v167 (DJN)
MAHWAH BERGEN RETAIL GROUP, INC.

Appellee.

ORDER
(Requiring Supplemental Briefing)

This matter comes before the Court on its own initiative. In the Reply Brief of Appellant
John P. Fitzgerald, II, Acting United States Trustee for Region 4 (ECF No. 45 at 30), the
Trustee argues that equitable mootness does not apply against appeals raised by the Government.
Although the Trustee cites OPM v. Richmond, 496 U.S. 414 (1990) and similar cases for the
proposition that equitable estoppel generally does not lie against the Government, it does not cite
any cases applying this doctrine in bankruptcy appeals brought by the United States Trustee.
Accordingly, the Court hereby ORDERS the parties to file supplemental briefs, not to exceed
four pages, identifying any cases where the court has ruled that equitable mootness does not
apply to bankruptcy appeals brought by the United States Trustee and any cases where the court
has applied equitable mootness to a bankruptcy appeal brought by the United States Trustee.
The parties must file their supplemental briefs not later than noon on December 16, 2021.

The Clerk is directed to file this Order electronically and notify all counsel of record.

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It is so ORDERED.
/s/

David J. Novak = "~~
United States District Judge

 

Richmond, Virginia
Date: December 13, 2021
